                      IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                EASTERN DIVISION


 JOHN HALL, ELAINE ROBINSON­
 STRAYHORN, LINDORA TOUDLE,
 THOMAS JERKINS,

                                     Plaintiffs,

                       V.

 JONES COUNTY BOARD OF
 COMMISSIONERS; FRANK EMORY, in                    CIVIL ACTION NO. 4:17-cv-18
 his official capacity as Chairman; W.
 MICHAEL HADDOCK, in his official
 capacity as Vice Chairman; ZACK A.
 KOONCE III, in his official capacity as           CONSENT JUDGMENT AND DECREE
 Commissioner; SONDRA IPOCK-RIGGS, in
 her official capacity as Commissioner;
 JOSEPH F. WIGGINS in his official capacity
 as Commissioner; FRANKY J. HOWARD, in
 his official capacity as Jones County
 Manager; JONES COUNTY BOARD OF
 ELECTIONS; WILL H. BROCK in his
 official capacity as Chairman of the Board of
 Elections;

                                   Defendants.



       John Hall, Elaine Robinson Strayhorn, Lindora Toudle and Thomas Jerkins ("Plaintiffs")

filed this action under Section 2 of the Voting Rights Act of 1965, 52 U.S.C. § 10301, against the

Jones County Board of Commissioners, Frank Emory, W. Michael Haddock, Zack A. Koonce

III, Sondra Ipock-Riggs, Joseph F. Wiggins, Franky J. Howard, the Jones County Board of

Elections, and Will H. Brock ("Defendants," and, together with Plaintiffs, the "Parties"). The

complaint alleges that the current at-large method of electing the members of the Jones County




         Case 4:17-cv-00018-FL Document 42 Filed 08/23/17 Page 1 of 19
Board of Commissioners has the effect of denying the African-American voters of Jones County

an equal opportunity to elect candidates of their choice.


        The Parties, through counsel, have conferred extensively and agreed that it is in the best

interest of the Parties and the citizens of Jones County that this litigation be resolved to avoid

protracted, costly and potentially divisive litigation. The Parties share the goal that all future

elections for the Jones County Board of Commissioners be conducted under a method of election

that allows Jones County's African-American voters an equal opportunity to elect their

candidates of choice, in compliance with Section 2. Accordingly, the Parties have entered into

the following Consent Judgment and Decree (the "Consent Decree") as an appropriate resolution

of this civil action.


        The Parties stipulate as follows:


        1.       Jones County is a political subdivision of the state of North Carolina located in

the southeastern region of the state. The Jones County Board of Commissioners is a five­

member governing body charged with fulfilling the legal duties and responsibilities of Jones

County.


        2.       The five members of the Jones County Board of Commissioners are currently

elected at-large to four-year terms that run concurrently. The elections are held during non­

presidential federal election years. Elections for the Board of Commissioners are partisan.

Primary elections are held to determine which candidates advance to the general election.

Individuals running for the Board of Commissioners do not run for a particular seat on the

Board. Instead, the primary ballot lists all candidates from the voter's party who are seeking the

party's nomination for the Board of Commissioners. Each primary voter is permitted to cast a

                                                  2
             Case 4:17-cv-00018-FL Document 42 Filed 08/23/17 Page 2 of 19
vote for up to five candidates. The top five vote recipients in the primary election receive the

party's nomination and advance to the general election. In the general election, voters are again

permitted to cast a vote for up to five candidates. The top five vote recipients in the general

election win a seat on the Board of Commissioners.


         3.      Defendants Zack A. Koonce III, Frank Emory, Sondra Ipock-Riggs, Joseph

Wiggins, and W. Michael Haddock are the current elected members of the Jones County Board

of Commissioners. Defendant Franky J. Howard is the current Jones County Manager.

Defendant Will H. Brock is the current Chairman of the Board of Elections. All of these

defendants are sued in their official capacities.


         4.      The existing at-large voting system challenged in this action predates the

respective elections of defendants Zack A. Koonce III, Frank Emory, Sondra Ipock-Riggs,

Joseph Wiggins and W. Michael Haddock to the Jones County Board of Commissioners. The

Defendants have not intentionally discriminated against African-American voters in maintaining

the present election method.


         5.      According to the 2010 decennial Census, African Americans "alone" (meaning

they identified with that race and no other) constitute 32.4% of Jones County's total population

of 10,153, and 31.8% of the voting age population of Jones County was African American

alone.


         6.      The number of voting-age African-American residents of Jones County is

sufficiently large and geographically compact to constitute a majority in at least one single­

member district. African Americans vote as a cohesive bloc, but their candidates of choice are



                                                    3

              Case 4:17-cv-00018-FL Document 42 Filed 08/23/17 Page 3 of 19
often defeated by the candidates of choice of the white voters of Jones County, who vote

sufficiently as a bloc to enable it usually to defeat the minority's preferred candidate.


       7.      Since the 1994 general election, no African-American candidate has succeeded in

winning a seat on the Jones County Board of Commissioners.


       8.      The existing at-large system used to elect the Jones County Board of

Commissioners denies African-American voters in Jones County an equal opportunity to elect

candidates of their choice.


       9.      The usual and appropriate remedy for election systems that dilute minority voting

strength in violation of Section 2 of the Voting Rights Act is the drawing of a new plan that does

not dilute minority voting strength. See Thornburg v. Gingles, 478 U.S. 30 (1986).


        10.    As an appropriate remedy in this Section 2 action, the Parties have agreed to

implement a seven single-member district electoral plan described in the attachment to this

Consent Decree (the "Single-Member Plan"). The Single-Member Plan includes two single­

member districts in which African-American voters constitute a majority of the voting-age

population. The Single-Member Plan is a proper remedy for the violation of Section 2 of the

Voting Rights Act.


        11.    Defendants have agreed to put the Single-Member Plan into effect for the 2018

primary and general elections.


IT IS ADJUDGED, DECREED AND ORDERED:




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            Case 4:17-cv-00018-FL Document 42 Filed 08/23/17 Page 4 of 19
          1.       This Court has jurisdiction over the Parties and over the subject matter of this

action.


          2.       The Jones County Board of Commissioners, its officers, agents, employees,

successors, and all persons in concert with them in the performance of their official functions are

enjoined from conducting any election for the Jones County Board of Commissioners based on

the existing at-large electoral system.


          3.       Defendants shall adopt the Single-Member Plan and the Jones County Board of

Commissioners shall consist of seven Commissioners elected pursuant to the Single-Member

Plan. The boundaries of the Single-Member Plan shall be established in accordance with the

map and descriptions of the seven single-member districts set out in the attachment to this

Consent Decree.


          4.       The boundaries of the Single-Member Plan are reasonably compact and are not in

derogation of traditional redistricting principles. The local deviations in populations are less than

10 percent, and therefore these districts comply with the one person, one vote requirement of

federal law. Reynolds v. Sims, 377 U.S. 533 (1964).


          5.       The Single-Member Plan complies with Section 2 of the Voting Rights Act and

shall be implemented in time for use in the 2018 Jones County Board of Commissioners primary

and general elections.


          6.       To ensure fullest participation in the 2018 Jones County Board of Commissioners

primary and general elections and all such elections thereafter, Defendants shall make reasonable

efforts to assure that full notice and adequate disclosure will be made to all Jones County voters


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               Case 4:17-cv-00018-FL Document 42 Filed 08/23/17 Page 5 of 19
 of the implementation of the Single Member Plan, as well as of any related changes reasonably

 necessary to carry out the implementation of the Single-Member Plan.


         7.       Defendants shall make no changes in the system of electing the Jones County

 Board of Commissioners that cause a diminution of African-American voting strength from the

 voting strength enjoyed by African-American voters under the Single-Member Plan provided for

 in this Consent Decree, unless (i) demographic changes in Jones County reasonably require that

 a diminution in minority voting strength occur; (ii) changes in facts and circumstances after entry

· of this consent judgment establish that the Single-Member plan is no longer necessary to remedy

 a Section 2 violation; (iii) judgment in this case has otherwise served its remedial purpose and it

 is no longer equitable that it should have prospective application.


         8.       Defendants shall take all steps necessary and proper to implement the terms of

 this Consent Decree.


         9.       Within 30 days of entry of this Consent Decree, the County will pay to Plaintiffs'

 attorneys $10,000, the payment of which shall fully release, forever discharge and extinguish any

 and all claims of Plaintiffs and their attorneys related to this matter for costs, fees, expenses or

 monetary payment of any kind expended on this matter through the date of this Consent Decree.


         10.      This Court shall retain jurisdiction over this matter to enforce, modify, or vacate

 the provisions of the Consent Decree and for such further relief as may be appropriate under the

 Voting Rights Act, until it is in the public interest to return control over elections to local

 authorities and doing so would not interfere with the voting rights of African Americans under

 Section 2 of the Voting Rights Act.



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              Case 4:17-cv-00018-FL Document 42 Filed 08/23/17 Page 6 of 19
SO ORDERED, this 23rd day of August   , 2017.



                                _ ________________________________
                                LOUISE W. FLANAGAN
                                United States District Judge




 Case 4:17-cv-00018-FL Document 42 Filed 08/23/17 Page 7 of 19
 WE CONSENT:

 FOR THE PLAINTIFFS:                      FOR THE DEFENDANTS:




 By:/sl��

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      Case 4:17-cv-00018-FL Document 42 Filed 08/23/17 Page 8 of 19
       The seven new election districts for the Jones County Board of Commissioners under the

Single Member Plan shall be as follows:



       District I - The area within the following boundary running clockwise from the intersection

       of NC Highway 41 with the Jones County line on the northern border: South on NC

       Highway 41 to Musselshell Creek, southeast on Musselshell Creek to the intersection with

       Kingfield Rd, east on Kingfield Rd. curving south on Kingfield Rd. for a distance of .149

       miles (approx..), the boundary then extends east along northern boundary of census block

       2001030, then south along the eastern boundary of census block 2001030 to the

       intersection with NC Highway 1321/Furney Brock Rd., the boundary then continues south

       along the eastern boundary of census block 2001031, the boundary then proceeds west

       along the southern boundary of census block 2001031 to the intersection with Brimmage

       Rd., southwest on Brimmage Rd. to Ten Mile Fork Road, southeast on Ten Mile Fork Road

       to Long Branch, south on Long Branch to the confluence of Trent River, the boundary

       follows the Trent River west to the confluence of Trent River and French Branch, south on

       French Branch to the intersection of Spann Rd., southwest on Spann Rd. to the intersection

       of NC Highway 58, west on NC Highway 58 to the intersection of Curtis Rd., north on

       Curtis Rd to the intersection of Wooten Rd., north on Wooten Rd., then south on Wooten

       Rd. to the intersection of NC Highway 58, north on NC Highway 58 to the intersection of

       Francks Field Rd., southwest on Francks Field Rd. to the point where Francks Field Rd.

       splits to a service road, the boundary then continues southwest following the service road

       to the intersection of Olivers Cross Rd., north on Olivers Cross Rd. to the end of Olivers

       Cross Rd., the boundary then continues southwest along the southeastern boundary of



         Case 4:17-cv-00018-FL Document 42 Filed 08/23/17 Page 9 of 19
census blocks 2002048 and 2002058, the boundary then continues northwest along the

western boundaries of census blocks 2002058 and 2002059, the boundary then continues

south along the southeastern boundary of census block 2002063 then northwest along the

southwestern boundary of census block 2002063 to the intersection of NC Highway 41,

northeast on NC Highway 41 to intersection of Poplar Branch, northwest on Poplar Branch

to the confluence of Trent River, north on Trent River to the intersection of NC Highway

58, east on NC Highway 58 to the intersection of Whitaker Rd., south on Whitaker Rd. to

the intersection of Greentown Rd., northeast Greentown Rd. to the intersection of NC

Highway 58/NC Highway 41, east on NC Highway 58/NC Highway 41 to Trenton city

limits, north following the boundary of Trenton city limits to First St., the boundary then

continues west on First St. to the intersection of West St., the boundary then continues

north on West St. past Second Ave. along the western and northern borders of census block

2001049, the boundary then continues along the northern boundaries of census blocks

2001043, 2001044, 2001053, 2001051, 2001050 and 2001048, the boundary then

continues east along the eastern boundary of census block 2001048, the boundary then

continues east along the northern boundary of census block 2001066 to Trent River,

northwest on Trent River to Musselshell Creek, northeast on Musselshell Creek to

Henderson Rd., northwest on Henderson Rd. to the intersection of Island Branch, west on

Island Branch to the confluence of Resolution Branch, north on Resolution Branch to the

intersection of Wyse Fork Rd, the boundary then proceeds north along the western

boundaries of census blocks 3001091 and 3001090, the boundary then proceeds east along

the northern boundary of census block 3001090 to the intersection of NC Highway 41 and

the Jones County line.



                                        10

 Case 4:17-cv-00018-FL Document 42 Filed 08/23/17 Page 10 of 19
District II - The area within the following boundary runnmg clockwise from the

intersection of Lees Chapel Rd and US Highway 17: North on US Highway 17 to the

intersection of Beaufort Rd., east on Beaufort Rd. to Island Creek Rd., northeast on Island

Creek Rd. to the intersection of Meadowbrook Ln., north on Meadowbrook Ln. for a

distance of .22 miles (approx.), the boundary then proceeds north along the western

boundary of census block 1001098, the boundary then proceeds east along the northern

boundary of census block 1001043, the boundary then continues southeast along the

northern and eastern boundaries of census block 1001041 to the intersection of Island

Creek Rd., northeast on Island Creek Road, which is also the northern boundary of census

blocks 1001120, 1001118, and 1001103, northeast along the northern boundaries of census

blocks 1001103 and 1001114, the boundary then proceeds south following the Jones

County line to the intersection of Collins Ln., the boundary then proceeds northwest along

the southwest boundaries of census blocks 1002102 and 1002105, 1002038, the boundary

then proceeds to the intersection of US Highway 17, north on US Highway 17 to the

intersection of Tenth St., east on Tenth St. to the intersection of Foy Ave., north on Foy

Ave. to the intersection of Ninth St., west on Ninth St. to the intersection of Bynum Ave.,

North on Bynum Ave. to the intersection of Fifth St., west on Fifth St. to the intersection

of Mattocks Ave. north on Mattocks Ave. to the intersection of Fourth St., west on Fourth

St. to the intersection of White Oak River Rd., northwest on White Oak River Rd. to the

Maysville city line, the boundary follows the Maysville city line north to the intersection

of US Highway 17, north on US Highway 17 to the intersection of Beaufort Rd.




                                        11

 Case 4:17-cv-00018-FL Document 42 Filed 08/23/17 Page 11 of 19
District III - The area within the following boundary runnmg clockwise from the

intersection of NC Highway 41 with the Jones County line on the northern border: East

along the northeast portion of the Jones County line, the boundary then proceeds along the

eastern and southwest boundaries of census block 1001115, the boundary then proceeds

west along the southwest boundary of census block 1001116 to the intersection of Island

Creek Rd., southwest on Island Creek Rd. to the western boundary of census block

1001040, north along the western boundaries of census blocks 1001040, 1001036, 1001042

and 1001037, the boundary then meets Trent River, south on Trent River to the eastern

boundary of census block 1001097, the boundary then proceeds south along the eastern

boundary of census block 1001097 to the intersection of Meadowbrook Ln., south on

Meadowbrook Ln. to the intersection of Island Creek Rd., west on Island Creek Rd. to the

intersection of Beaufort Rd., west on Beaufort Rd. to the intersection of US Highway 17,

south on US Highway 1 7 to the intersection of Pollacksville city limits, the boundary then

proceeds west following the Pollacksville City line to where the city line intersects with

Pollack St. and Goshen Rd., west on Goshen Rd. to the western boundary of census block

1001088, the boundary then proceeds north along the western boundary of census blocks

1001088 and 1001075, the boundary then proceeds north to Trent River, west on Trent

River, then north along the Trent River to the Long Branch confluence, north on Long

Branch to the intersection of Ten Mile Fork Rd., west on Ten Mile Fork Rd. to the

intersection of Brimmage Rd., north on Brimmage Rd. which is part of the western

boundary of census block 2001000, the boundary then proceeds north along the western

boundary of census block 2001000 to the intersection of Highway 41 and the Jones County

line on the northern boundary.



                                        12

 Case 4:17-cv-00018-FL Document 42 Filed 08/23/17 Page 12 of 19
District IV - The area within the following boundary runnmg clockwise from the

intersection of NC Highway 58 and Piney Grove Rd.: Southeast on NC Highway 58 to the

intersection of Mill Run Creek, northeast on Mill Run Creek to Trent River, east on-Trent

River to the eastern boundary of census block 1001065, south along the eastern boundaries

of census blocks 1001065 and 1001072 to the intersection Goshen St., east on Goshen St.

to the Pollacksville city line, the boundary then proceeds south then east following the

Pollacksville city line to the intersection of US Highway 17, south on US Highway 17 to

the Maysville city line, the boundary then proceeds south following the Maysville city line

to White Oak River Rd., southeast on White Oak River Rd. to the intersection of Fourth

St., east on Fourth St. to the intersection of Mattocks Ave., south on Mattocks Ave., to the

intersection of Fifth St., east on Fifth St. to the intersection of Bynum St., south on Bynum

St. to the intersection of Ninth St., east on Ninth St. to the intersection of Foy Ave., south

on Foy Ave. to the intersection of Tenth St., east on Tenth St. to the intersection of US

Highway 17, south on US Highway 17 to Jones County line, , the boundary then proceeds

northwest alengfollowing the Jones County line, the boundary follows the Jones County

line to the confluence of Great Creek and White Oak River, north on Great Creek to the

intersection of White Oak River Rd., east on White Oak River Rd. to the western boundary

of census block 2002177, the boundary then proceeds north along the western boundaries

of census blocks 2002177, 2002172, 2002103, and 2002091 to the intersection of PJ West

Rd., the boundary then proceeds northeast on PJ West Rd. to the intersection of Piney

Grove Rd., east on Piney Grove Rd. to the intersection of NC Highway 58.




                                         13

 Case 4:17-cv-00018-FL Document 42 Filed 08/23/17 Page 13 of 19
District V - The area within the following boundary runnmg clockwise from the

intersection of US Highway 258 and the Jones County line on the western border: North

along the western border of the Jones County line to the intersection of NC Highway 58,

south on NC Highway 58 to the intersection of Levi Ln., south on Levi Lane to the southern

boundary of census block 3002007, the boundary then proceeds east along the southern

boundary of census block 3002007 to NC Highway 58, south on NC Highway 58 to the

intersection of Chinquapin Branch, east on Chinquapin Branch to the intersection of

Chinquapin Chapel Rd., north on Chinquapin Chapel Rd. to the intersection of Middle Rd.,

southeast on Middle Rd. to the intersection of NC Highway 58, west on NC Highway 58

to the intersection of Trent River, south on Trent River to the confluence of Poplar Branch,

south on Poplar Branch to the intersection of NC Highway 41, southeast on NC Highway

41 to the intersection of Pocoson Branch, north on Pocoson Branch to the confluence of

Trent River, west on the Trent River to the confluence of Little Chinquapin Branch, west

on Little Chinquapin Branch to the southern boundary of census block 3002083, the

boundary then proceeds west along the southern boundaries of census blocks 3002083,

3002068, 3002067, 3002066 and 3002065, the boundary intersects with Tuckahoe Swamp,

south on Tuckahoe Swamp to the confluence of Trent River, south on Trent River to the

confluence of Reedy Branch, southwest on Reedy Branch to the intersection of NC

Highway 41, west on NC Highway 41 to the eastern border of census block 3003058, the

boundary then proceeds south along the eastern border of census block 3003058 to the

Jones County line, the boundary then follows the Jones County line west, northwest, then

northeast along the Jones County line to the intersection of US Highway 258 and the Jones

County line.



                                        14

 Case 4:17-cv-00018-FL Document 42 Filed 08/23/17 Page 14 of 19
District VI - The area within the following boundary runnmg clockwise from the

intersection of US Highway 70 and the Jones County line on the western border: north

along the western border of the Jones County line, the boundary then proceeds east along

the northern border of the Jones County line to the intersection of NC Highway 41, the

boundary then proceeds west along the southern boundary of census block 3001047, the

boundary then proceeds south along eastern boundaries of census blocks 3001089,

3001088, 3001087, 3001092, 3001086, 3001082, 2001038, the boundary then proceeds

along the eastern and southeastern boundary of census block 2001041 to the Trenton city

line, the bow1dary then continues west along the southern boundary of census block

2001041 to the intersection of NC Highway 58/NC Highway 41, west on NC Highway

58/NC Highway 41 to Greentown Rd., west on Greentown Rd. to the intersection of

Whitaker Rd., north on Whitaker Rd. to the intersection of NC Highway 58/NC Highway

41, west on NC Highway 58 to the intersection of Middle Rd., north on Middle Rd. to the

intersection of Chinquapin Chapel Rd., southwest on Chinquapin Chapel Rd. to

Chinquapin Branch, west on Chinquapin Branch to the intersection of NC Highway 58,

northwest on NC Highway 58 to the southern boundary of census block 3002007, the

boundary then proceeds east along the southern boundary of census block 3002007 to Levi

Ln., north on Levi Ln. to the intersection of NC Highway 58, north on NC Highway 58 to

the western border of the Jones County line, the boundary then proceeds north along the

western border of the Jones County line to the intersection of US Highway 70.




                                       15

 Case 4:17-cv-00018-FL Document 42 Filed 08/23/17 Page 15 of 19
District VII - The area within the following boundary runmng clockwise from the

intersection of NC Highway 58 and Wooten Rd.: Northeast on Wooten to the intersection

of Curtis Rd., south on Curtis Rd. to the intersection of NC Highway 58, east on NC

Highway 58 to the intersection of Spann Rd., northeast on Spann Rd. to the intersection of

French Branch, north on French Branch to the confluence of Trent River, east and then

south on Trent River to the confluence of Mill Run, south on Mill Run to the intersection

of NC Highway 58, northwest on NC Highway 58 to the intersection of Piney Grove Rd.,

west on Piney Grove Rd. to the intersection of PJ West Rd., southwest on PJ West Rd. to

the northern boundary of census block 2002090, the boundary then proceeds east along the

northern boundaries of census blocks 2002090 and 2002098, the boundary then proceeds

southwest along the eastern boundaries of census blocks 2002098, 2002094 and 2002104,

the boundary then proceeds east along the northern boundary of census block 2002171, the

boundary then proceeds south along the eastern boundaries of census blocks 2002171,

2002170, 2002179 and 2002178, the boundary then proceeds southwest along the southern

boundaries of census blocks 2002178 and 2002206, the boundary then proceeds south

along a portion of the eastern boundary of census block 2002168 until the boundary

intersects at White Oak River Rd, west on White Oak River Rd. to the intersection of Great

Creek, south on Great Creek to the confluence of White Oak River at the Jones County

Line, the boundary then follows the Jones County line southwest and then northwest along

the southern boundary of the Jones County line until the boundary intersects with the

western boundary of census block 3003060, the boundary then proceeds north along the

western boundaries of census blocks 3003060 and 3003059 to NC Highway 41, east on

NC Highway 41 to Reedy Branch, north on Reedy Branch to the confluence of Trent River,



                                       16

 Case 4:17-cv-00018-FL Document 42 Filed 08/23/17 Page 16 of 19
north on Trent River to the confluence of Tuckahoe Swamp, north on Tuckahoe Swamp to

the northern boundary of census block 3002087, the boundary then proceeds east along the

northern boundaries of census blocks 3002087, 3002081, 3002082, 3002077 (partially

bordered by Little Chinquapin Branch) and 3002076, at the confluence of Little

Chinquapin Branch and Trent River the boundary proceeds east on Trent River, east on

Trent River to the confluence of Pocoson Branch, south on Pocoson Branch to NC

Highway 41, southwest on NC Highway 41 to the northeastern boundary of census block

2002065, the boundary then proceeds southeast along the northeastern boundaries of

census blocks 2002065, 2002067, 2002074 and 2002057, the boundary then proceeds

northeast along the northwestern boundaries of census blocks 2002064 and 2002047, the

boundary then proceeds southeast along the northeastern boundary of census block

2002047 to the intersection with Oliver Cross and the service Rd., east on the service road

to intersection of Francks Field Rd., east on Francks Field Rd. to the intersection of US

Highway 58, south on US Highway 58 to the intersection of Wooten Rd.




                                        17

 Case 4:17-cv-00018-FL Document 42 Filed 08/23/17 Page 17 of 19
                                    Jones County, NC
                                             July 2017




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  %   African American VAP
  0.0001 to 34.9900
  35.0000 to 49.9900
- 50.0000 to 64.9900
- 65.0000 to 100.0000
  No Population



               Case 4:17-cv-00018-FL Document 42 Filed 08/23/17 Page 18 of 19
Plan:                        Final
Plan Type:
Administrator:
User:


Population Summary Report
Tuesday July 11, 2017                                                                                                                  4:43 PM




DISTRICT                       TOTALPOP              DEVIATION      % DEVN.            VAP     white   [% white]   black   [% black]




1                                    1,435                    -15     -1.03            1,126    459      40.76%     614     54.53%
2                                    1,457                     7       0.48            1,142    505      44.22%     584     51.14%
3                                    1,479                    29       2.00            1,208    850      70.36%     323     26.74%
4                                    1,477                    27       1.86            1,142    708      62.00%     362     31.70%
5                                    1,431                    -19     -1.31            1,135    910      80.18%     157     13.83%
6                                    1,441                     -9     -0.62            1,114    756      67.86%     291     26.12%
7                                    1,433                    -17     -1.17            1,078    837      77.64%     193     17.90%


Total Population:                                        10,153
Ideal District Population:                                1,450
Summary Statistics
Population Range:                            1,431 to 1,479
Ratio Range:                                 0.03
Absolute Range:                              -19 to 29
Absolute Overall Range:                      48.00
Relative Range:                              -1.31% to 2.00%
Relative Overall Range:                      3.31%
Absolute Mean Deviation:                     17.57
Relative Mean Deviation:                     1.21%
Standard Deviation:                          19.17




                                                                              Page 1
                                      Case 4:17-cv-00018-FL Document 42 Filed 08/23/17 Page 19 of 19
